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                                        “EXHIBIT 1”
  To Settlement Agreement in MDL No. 2047 Regarding Chinese Drywall Claims Against
       Certain Virginia Non-Manufacturing Defendants and Participating Insurers
             Participating Defendants                          Counsel
                                              Jayne A. Pemberton
                                              Thompson McMullan
Builders Plaster & Drywall, LLC               100 Shockoe Slip
                                              Richmond, VA 23219
                                              jpemberton@t-mlaw.com
                                              Jayne A. Pemberton
                                              Thompson McMullan
JMM Drywall Co., LLC                          100 Shockoe Slip
                                              Richmond, VA 23219
                                              jpemberton@t-mlaw.com
                                              Theodore I. Brenner
                                              Brenner, Evans & Millman, P.C.
Tobin Trading, Inc.                           411 E. Franklin St. Suite 200
                                              P.O. Box 470
                                              Richmond Va. 23218
                                              tbrenner@beylaw.com
                                              Theodore I. Brenner
                                              Brenner, Evans & Millman, P.C.
Phillip Perry                                 411 E. Franklin St. Suite 200
                                              P.O. Box 470
                                              Richmond Va. 23218
                                              tbrenner@beylaw.com




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                                       “EXHIBIT 2”
  To Settlement Agreement in MDL No. 2047 Regarding Chinese Drywall Claims Against
       Certain Virginia Non-Manufacturing Defendants and Participating Insurers


             Participating Insurers                          Counsel
                                                 Thomas W. Curvin
                                                 Sutherland, Asbill & Brennan LLP
State Farm Florida Insurance Company             999 Peachtree St. NE
                                                 Atlanta, Georgia 30309
                                                 tom.curvin@sutherland.com

                                                 Thomas W. Curvin
                                                 Sutherland, Asbill & Brennan LLP
State Farm Fire and Casualty Company             999 Peachtree St. NE
                                                 Atlanta, Georgia 30309
                                                 tom.curvin@sutherland.com




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